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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 22-23684-CIV-LENARD/LOUIS

  ADISLEN PAZ DEL SOL,

        Plaintiff,

  v.

  HOMESTEAD HOSPITAL, INC.,
  BAPTIST HEALTH SOUTH
  FLORIDA, INC., HEALTHCARE
  REVENUE RECOVERY GROUP,
  INC., doing business as HRRG, ARS
  Account Resolution Services, and
  PARAGON CONTRACTING SERVICES,
  LLC, doing business as TeamHealth Florida,

        Defendants.
  __________________________________________/

         ORDER GRANTING MOTION TO DISMISS COMPLAINT (D.E. 8)

        THIS CAUSE is before the Court on Defendants Homestead Hospital, Inc.

  (“Homestead Hospital”) and Baptist Health South Florida, Inc.’s (“Baptist Health”) Motion

  to Dismiss Complaint, (“Motion,” D.E. 8), filed December 5, 2022. Plaintiff Adislen Paz

  del Sol filed a Response on December 18, 2022, (“Response,” D.E. 18), to which

  Homestead Hospital and Baptist Health filed a Reply on December 23, 2022, (“Reply,”

  D.E. 21). Upon review of the Motion, Response, Reply, and the record, the Court finds a

  follows.
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  I.     Background

         On or about June 8, 2021, Plaintiff received emergency medical services from

  Defendant Homestead Hospital for injuries suffered in the course and scope of her

  employment. (Compl. (D.E. 1) ¶¶ 18-19.) Plaintiff informed Homestead Hospital that her

  injuries stemmed from a work-related accident. (Id. ¶ 20.)

         On or about June 20, 2021, July 4, 2021, and July 23, 2021, Homestead Hospital

  and Baptist Health (“Defendants”) jointly sent collection letters to Plaintiff, attempting to

  collect a consumer debt in the amount of $2,915.00 for treatment received at Homestead

  Hospital’s Emergency Department on June 8, 2021. (Id. ¶ 21.)

         On November 9, 2022, Plaintiff filed the instant Complaint asserting seven claims,

  (D.E. 1); only Counts 5 and 6 remain.1 Count 5 alleges that Defendants violated the Florida

  Consumer Collection Practices Act (“FCCPA”), “including Florida Statute § 559.72.” (Id.

  ¶¶ 50-52.) Count 6 alleges that Defendants violated the FCCPA, Fla. Stat. § 559.72(9), by

  attempting to collect a debt from Plaintiff with knowledge that they had no right or

  authority to collect the debt from Plaintiff under Florida’s Workers’ Compensation law.

  (Id. ¶¶ 53-63.)

         On December 5, 2022, Defendants filed the instant Motion to Dismiss arguing that

  (1) Plaintiff lacks Article III standing to assert Counts 5 and 6, and (2) in any event, Counts




         1
                 Counts 1, 2, 3, 4, and 7 were asserted against Defendants Healthcare Revenue
  Recovery Group, LLC d/b/a ARS Account Resolution Services ("ARS") and Paragon Contracting
  Services, LLC, d/b/a Teamhealth Florida ("Teamhealth"). On February 2, 2023, the Court entered
  an Order dismissing this case as to ARS and Teamhealth, following a Joint Notice of Settlement
  as to those Defendants. (D.E. 37, 38.)
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  5 and 6 fail to state claims upon which relief can be granted. (D.E. 8.) Plaintiff filed a

  Response, (D.E. 18), to which Defendants filed a Reply, (D.E. 21).

         Because the Court finds that Counts 5 and 6 must be dismissed for lack of standing,

  the Court will confine its analysis to that issue.

  II.    Legal Standard

         “Article III of the U.S. Constitution limits the judicial power of the federal courts

  so that they may only exercise jurisdiction over ‘Cases’ and ‘Controversies.’” L.M.P. ex

  rel. E.P. v. Sch. Bd. of Broward Cnty., Fla., 879 F.3d 1274, 1281 (11th Cir. 2018) (quoting

  U.S. Const. art. III, § 2, and citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 559 (1992)).

  “Accordingly, subject matter jurisdiction requires a justiciable case or controversy within

  the meaning of Article III.” Id. (citing Allen v. Wright, 468 U.S. 737, 750-51) (1984)).

  “Standing constitutes one component of justiciability.” Id. (citing Lujan, 504 U.S. at 560-

  61). “Whether a plaintiff has standing presents a ‘threshold question in every federal case,

  determining the power of the court to entertain the suit.’” Id. at 1280-81 (quoting Warth

  v. Seldin, 422 U.S. 490, 498 (1975)). “‘Because standing is jurisdictional, a dismissal for

  lack of standing has the same effect as a dismissal for lack of subject matter jurisdiction

  under Fed. R. Civ. P. 12(b)(1).’” Stalley ex rel. U.S. v. Orlando Reg’l Healthcare Sys.,

  Inc., 524 F.3d 1229, 1232 (11th Cir. 2008) (quoting Cone Corp. v. Fla. Dep’t of Transp.,

  921 F.2d 1190, 1203 n.42 (11th Cir. 1991)). “If the court determines at any time that it

  lacks subject-matter jurisdiction, the court must dismiss the action.” Fed. R. Civ. P

  12(h)(3); see also Pardazi v. Cullman Med. Ctr., 896 F.2d 1313, 1317 (11th Cir. 1990)

  (“[A] district court or appellate court may dismiss a case at any time for lack of subject

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  matter jurisdiction[.]”) (citing Ins. Corp. v. Compagnie des Bauxites, 456 U.S. 694, 704

  (1982)).

         At the motion to dismiss stage, “a plaintiff must allege facts that, taken as true,

  ‘plausibly’ state that the elements of standing are met.” Hunstein v. Preferred Collection

  & Mgmt. Servs., Inc., 48 F.4th 1236, 1241 (11th Cir. 2022) (citing Thole v. U.S. Bank

  N.A., __ U.S. __, 140 S. Ct. 1615, 1621 (2020); Muransky v. Godiva Chocolatier, Inc., 979

  F.3d 917, 924 (11th Cir. 2020)). “For a party to have standing to bring a lawsuit, it must

  have ‘(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of

  the defendant, and (3) that is likely to be redressed by a favorable judicial decision.’”

  Muransky, 979 F.3d at 924 (quoting Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)).

  III.   Discussion

         Defendants argue that Plaintiff lacks standing because she has failed to allege that

  she suffered a concrete injury in fact. (Id. at 2-6.) They argue that the Complaint alleges

  only that Defendants sent Plaintiff collection letters in violation of the FCCPA, (id. at 2),

  and a bare statutory violation, divorced from any concrete harm, does not satisfy the injury-

  in-fact requirement of Article III, (id. at 3 (citing Spokeo, Inc. v. Robins, 578 U.S. 330,

  341 (2016); TransUnion LLC v. Ramirez, __ U.S. __, 141 S. Ct. 2190, 2205 (2021);

  Hunstein v. Preferred Collection & Mgmt. Servs., Inc., 48 F.4th 1236, 1248 (11th Cir.

  2022))). They argue that the Complaint does not allege that Plaintiff made any payments

  in response to the Collection Letters or suffered any other concrete injury. (Id. at 5.) As

  such, they argue that the Complaint should be dismissed for lack of subject matter

  jurisdiction. (Id. at 5-6.)

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         In her Response, Plaintiff argues that the Supreme Court in Spokeo “recognized that

  ‘the violation of a procedural right granted by statute can be sufficient in some

  circumstances to constitute injury in fact,’ and that ‘a plaintiff in such a case need not allege

  any additional harm beyond the one Congress has identified.’” (D.E. 18 at 4-5 (quoting

  Spokeo, 578 U.S. at 342); see also id. at 5 (quoting Perry v. Cable News Network, Inc., 8

  F.3d 1336, 1339-40 (11th Cir. 2017) (quoting Spokeo, 578 U.S. at 342)).) She argues that

  “post-Spokeo decisions trend in favor of finding concrete injury under FDCPA where the

  amount of the validity of the debt is misstated.” (Id. at 5 (citing Church v. Accretive Health,

  Inc., 654 F. App’x 990, 994-95 (11th Cir. 2016)).) She argues that violations of the FDCPA

  based on untruthful representations of the character and amount of debt, and unfair or

  unconscionable means to collect or attempt to collect a debt, should be sufficient to confer

  standing without the need to show additional harm. (Id. at 5-6.) She further argues that

  the FCCPA “allows statutory damages, and as such, a plaintiff ‘is not required to prove

  actual damages, but only a violation of one of the prohibited practices in the FCCPA.’”

  (Id. (quoting Laughlin v. Household Bank, Ltd., 969 So. 2d 509, 513 (Fla. Dist. Ct. App.

  2007), and citing Harris v. Beneficial Fin. Co. of Jacksonville, 338 So. 2d 196, 200 (Fla.

  1976)).) She argues that her “allegation that she was deprived of her statutory right to

  receive correct information regarding the legitimacy of the debt as a result of Defendants’

  unlawful actions is sufficient to demonstrate a concrete injury under FCCPA, thereby

  establishing FCCPA standing.” (Id. (discussing Bacardi v. Select Portfolio Servicing, Inc.,

  Civil Action No. 16-23381-Civ-Scola, 2017 U.S. Dist. LEXIS 160951, at *11-12 (S.D. Fla.



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  Apr. 4, 2017), and citing Belcher v. Ocwen Loan Servicing, LLC, Case No: 8:16–cv–690–

  T–23AEP, 2018 WL 1701963, at *4 (M.D. Fla. Mar. 9, 2018)).)

         In their Reply, Defendants argue: “Perhaps before Spokeo and its progeny there was

  an argument that Plaintiff’s claim could have survived as pleaded, but her allegation now

  - - consisting of nothing more than a ‘bare procedural violation, divorced from any concrete

  harm’ - - is too attenuated to survive.” (D.E. 21 at 1.) They argue that all of the federal

  court cases Plaintiff relies on directly conflict with subsequent decisions of the Eleventh

  Circuit and the Supreme Court. (Id. (citing Hunstein, 48 F.4th at 1248; Muransky v.

  Godiva Chocolatier, Inc., 979 F.3d 917, 936 (11th Cir. 2020); TransUnion, 141 S. Ct. at

  2214; Trichell v. Midland Credit Mgmt., Inc., 964 F.3d 990, 1004 (11th Cir. 2020)); see

  also id. at 2-3 (citing Hunstein, 48 F.4th at 1248; Muransky, 979 F.3d at 936; TransUnion,

  141 S. Ct. at 2214; Trichell, 964 F.3d at 1004).) They further argue that Laughlin and

  Harris “are state court decisions and cannot govern standing in this Court. Even if they

  could, they directly conflict with the controlling decisions in Transunion, Hunstein,

  Muransky and Trichell.” (Id. at 2.) They further argue that to the extent Count 6 is

  predicated upon Florida’s Workers’ Compensation law—which provides, in relevant part,

  that “[a] health care provider may not collect or receive a fee from an injured employee

  within this state, except as otherwise provided by this chapter[,]” Fla Stat. §

  440.13(13)(a)—“Plaintiff did not, and cannot, plead that Defendants collected or received

  a fee in response to their correspondence, because she never made a payment.” (Id. at 3.)

  Thus, they argue that Plaintiff cannot establish a concrete injury with respect to a FCCPA

  violation predicated on Florida’s Workers’ Compensation law. (Id.)

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         “To establish injury in fact, a plaintiff must show that he or she suffered ‘an invasion

  of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent,

  not conjectural or hypothetical.’” Spokeo, 578 U.S. at 339 (quoting Lujan, 504 U.S. at

  560). Only concreteness is at issue here.

         “An injury is concrete if it actually exists—that is, if it is ‘real, and not abstract.’”

  Hunstein, 48 F.4th at 1242 (quoting Spokeo, 578 U.S. at 340). Concrete harms can be

  tangible (e.g., physical injury or financial loss) or intangible. Muransky, 979 F.3d at 926.

  However, not all intangible harms are concrete. See id. “In particular, a plaintiff does not

  ‘automatically satisf[y] the injury-in-fact requirement whenever a statute grants a person a

  statutory right and purports to authorize that person to sue to vindicate that right.” Trichell,

  964 F.3d at 997 (quoting Spokeo, 578 U.S. at 341). A plaintiff cannot satisfy the demands

  of Article III by alleging “a bare procedural violation, divorced from any concrete harm[.]”

  Spokeo, 578 U.S. at 341. “Rather, ‘Article III standing requires a concrete injury even in

  the context of a statutory violation.’” Trichell, 964 F.3d at 997 (quoting Spokeo, 578 U.S.

  at 341). “To determine whether an intangible injury is sufficiently concrete, we must look

  to both history and the judgment of Congress.” Id. (citing Spokeo, 578 U.S. at 341).

         As for history, “we consider whether the alleged intangible injury bears a ‘close

  relationship to a harm that has traditionally been regarded as providing a basis for a lawsuit

  in English or American courts.’” Id. (citing Spokeo, 578 U.S. at 341). “Those include . .

  . reputational harms, disclosure of private information, and intrusion upon seclusion.”

  TransUnion, 141 S. Ct. at 2204 (citations omitted). For example, in Perry, the Eleventh

  Circuit “held that CNN’s dissemination of a plaintiff’s news-viewing history to a third-

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  party, in violation of the Video Privacy Protection Act, could constitute a concrete injury

  because it was analogous to torts that were well-established in American courts—namely,

  invasion of privacy and intrusion upon seclusion.” Muransky, 979 F.3d at 926 (citing

  Perry, 854 F.3d at 1340-41). And in Pedro v. Equifax, Inc., the Eleventh Circuit “held that

  an agency’s violation of the Fair Credit Reporting Act—offering an allegedly inaccurate

  statement in a plaintiff’s credit report—was analogous to the longstanding tort for

  publication of defamatory material.” Id. (citing Pedro, 868 F.3d at 1279-80).

         The judgment of Congress “can matter for two reasons. First, Congress may

  ‘elevat[e] to the status of legally cognizable injuries concrete, de facto injuries that were

  previously inadequate in law.’” Trichell, 964 F.3d at 998 (quoting Lujan, 504 U.S. at 578).

  “Second, Congress is ‘well positioned’ to make its own judgment about which harms are

  sufficiently concrete, particularized, and imminent to constitute injuries in fact.” Id. (citing

  Spokeo, 578 U.S. at 331). However, “Congress’s creation of a statutory prohibition or

  obligation and a cause of action does not relieve courts of their responsibility to

  independently decide whether a plaintiff has suffered a concrete harm under Article III . .

  . .” TransUnion, 141 S. Ct. at 2205.

         Here, Counts 5 and 6 allege what can be characterized, at best, as an intangible harm

  resulting from a violation of the FCCPA. (See Compl. ¶¶ 21, 50-63.) Plaintiff wholly fails

  to argue that her alleged intangible injury has a common-law analogue. See Stalley, 524

  F.3d at 1232 (recognizing that the party invoking federal jurisdiction bears the burden of

  establishing an injury in fact).



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         Regardless, the Court finds that Plaintiff’s alleged intangible injury does not bear “a

  ‘close relationship to a harm that has traditionally been regarded as providing a basis for a

  lawsuit in English or American courts.’” Trichell, 964 F.3d at 997 (quoting Spokeo, 578

  U.S. at 341). In Trichell, the plaintiffs sued the defendants for sending deceptive debt

  collection letters in violation of the FDCPA (which is the FCCPA’s federal counterpart).2

  964 F.3d at 995. Specifically, the complaint alleged that the collection letters misleadingly

  suggested that the plaintiffs could be sued when, in fact, the statute of limitations had

  expired on any legal right to collect the debt. 964 F.3d at 995. The district court dismissed

  the complaint for failure to state a claim. Id. On appeal, neither party raised Article III

  standing, but the Eleventh Circuit ordered them to address it at oral argument. Id. The

  Eleventh Circuit ultimately found that a bare violation of the FDCPA of the kind alleged

  in the complaint did not result in a de facto concrete injury to the plaintiffs. Id. at 997-

  1005. As to history, the court found that “the common law furnishes no analog to the

  FDCPA claims asserted” by the plaintiffs. Id. at 998. “The closest historical comparison

  is to causes of action for fraudulent or negligent misrepresentation, but these torts differ

  from the plaintiffs’ claims in fundamental ways. For centuries, misrepresentation torts




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                  The FCCPA instructs: “In applying and construing [the FCCPA], due consideration
  and great weight shall be given to the interpretations of the Federal Trade Commission and the
  federal courts relating to the federal Fair Debt Collection Practices Act.” Fla. Stat. § 559.77(5).
  See also Byrd v. Mfrs. & Traders Tr. Co., Case No: 6:18-cv-1809-Orl-22GJK, 2019 WL
  13246785, at *9 (M.D Fla. Sept. 19, 2019) (“[T]he FDCPA and FCCPA are largely similar and
  ‘the FCCPA is construed in accordance with the FDCPA.’”) (quoting Lilly v. Bayview Loan
  Servicing, LLC, Case No: 2:17-cv-345-FtM-99MRM, 2017 WL 4410040, at *2 (M.D. Fla. Oct. 4,
  2017)).
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   have required a showing of justifiable reliance and actual damages[,]” which the plaintiffs

   had not alleged. Id. (citations omitted).

             Similarly, here, the Complaint alleges that Defendants sent collection letters which

   misrepresented that Plaintiff owed Defendants a debt—specifically, it alleges that

   Defendants cannot recover the debt from Plaintiff under Florida’s Workers’ Compensation

   law. (See Compl. ¶¶ 21, 50-63.) However, it does not allege justifiable reliance or actual

   damages. “By jettisoning the bedrock elements of reliance and damages, the plaintiff[]

   assert[s] claims with no relationship to harms traditionally remediable in American or

   English courts.” Trichell, 964 F.3d at 998. “This cuts against Article III standing, for the

   purpose of that doctrine is to confine courts to their ‘traditional role.’” Trichell, 964 F.3d

   at 998.

             The Eleventh Circuit in Trichell further found that “the judgment of Congress

   disfavor[ed]” the plaintiffs. Id. at 999. It reasoned:

             The FDCPA’s statutory findings contain one sentence identifying the harms
             against which the statute is directed: “Abusive debt collection practices
             contribute to [a] number of personal bankruptcies, to marital instability, to
             the loss of jobs, and to invasions of individual privacy.” 15 U.S.C. § 1692(a).
             These serious harms are a far cry from whatever injury one may suffer from
             receiving in the mail a misleading communication that fails to mislead. In
             terms of “privacy and nuisance concerns,” Salcedo, 936 F.3d at 1169, an
             unwanted mailing is more like an unwanted text message than an unwanted
             phone call. See Consol. Edison Co. of N.Y. v. Pub. Serv. Comm’n, 447 U.S.
             530, 542, 100 S. Ct. 2326, 65 L. Ed.2d 319 (1980) (recipient “may escape
             exposure to objectionable material simply by transferring the
             [communication] from envelope to wastebasket”). And while a recipient
             may take offense that a private party has violated the FDCPA, that is akin to
             taking offense that the government has violated other statutes—an injury that
             is canonically abstract as opposed to concrete. See, e.g., Defs. of Wildlife,
             504 U.S. at 575–76, 112 S. Ct. 2130; Allen v. Wright, 468 U.S. 737, 754,
             104 S. Ct. 3315, 82 L. Ed. 2d 556 (1984).

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          The FDCPA’s private cause of action reinforces this analysis. It provides
          that a person may recover “any actual damage sustained by such person as a
          result of” an FDCPA violation and “such additional damages as the court
          may allow.” 15 U.S.C. § 1692k(a). This formulation suggests that Congress
          viewed statutory damages not as an independent font of standing for
          plaintiffs without traditional injuries, but as an “additional” remedy for
          plaintiffs suffering “actual damage” caused by a statutory violation

   Id. at 999-1000. As such, the Eleventh Circuit concluded that “the FDCPA’s narrow

   findings and cause of action affirmatively cut against [the plaintiffs] and, in any event,

   suggest no congressional judgment firm enough to break with centuries of tradition

   indicating that misrepresentations are not actionable absent reliance and ensuing damages.”

   Id.

          This Court agrees that the harms Congress identified in the FDCPA, including

   personal bankruptcy, marital instability, job loss, and invasion of privacy, “are a far cry

   from whatever injury one may suffer from receiving in the mail a misleading

   communication that fails to mislead.” Id. at 999. Furthermore, like the FDCPA, the

   FCCPA’s private cause of action provides that a person may recover “actual damages and

   . . . additional statutory damages as the court may allow . . . .” Fla. Stat. § 559.77(2). “This

   formulation suggests that [the Florida legislature] viewed statutory damages not as an

   independent font of standing for plaintiffs without traditional injuries, but as an ‘additional’

   remedy for plaintiffs suffering ‘actual damage’ caused by a statutory violation.” Id. at

   1000. Thus, the Florida legislature’s judgment disfavors Plaintiff. Id.

          The Court rejects Plaintiff’s reliance on Church, in which the Eleventh Circuit held

   that a mere deprivation of the right to disclosures required by the FDCPA, 15 U.S.C. §§


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   1692e(11), 1692g(a)(1)-(5), is a concrete injury in fact even absent a tangible injury. 654

   F. App’x at 995.      Church is an “unpublished opinion [that] directly conflicts with

   subsequent binding decisions of the Supreme Court and the Eleventh Circuit.” Klein v.

   Receivable Mgmt. Grp., Inc., 595 F. Supp. 3d 1183, 1194 (M.D. Fla. 2022) (citing

   TransUnion, 141 S. Ct. at 2214 (concluding the plaintiffs lacked standing because asserted

   “informational injury that causes no adverse effects cannot satisfy Article III”); Trichell,

   964 F.3d at 1004). “The Court is not permitted to follow an unpublished Eleventh Circuit

   decision when it conflicts with precedent.” Id. (citing 11th Cir. Rule 36-2).

          The Court further rejects Plaintiff’s argument “she was deprived of her statutory

   right to receive correct information regarding the legitimacy of the debt . . . .” (Resp. at 6

   (citing Bacardi, 2017 U.S. Dist. Ct. LEXIS 160951, at *11-12; Belcher, 2018 WL 1701963,

   at *4).) To begin with, Plaintiff cites no provision of the FCCPA that provides a statutory

   right to receive correct information regarding the legitimacy of the debt. Even assuming

   that the FCCPA does confer such a right, the Complaint does not allege that Defendants

   violated that right—it merely alleges that Defendants attempted to collect a debt they knew

   they had no right to collect in violation of Fla. Stat. § 559.72(9). (Compl. ¶¶ 60-61.) And

   even assuming that the FCCPA provides a statutory right to receive correct information

   regarding the legitimacy of a debt and that the Defendants violated that right, a bare

   statutory violation is not enough where, as here, neither history nor the judgment of

   Congress (or the Florida legislature) support a finding that the intangible injury is

   sufficiently concrete to establish Article III standing. See Trichell, 964 F.3d at 1003

   (rejecting the plaintiffs’ argument that “the FDCPA gives them a right to receive truthful

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   communications from debt collectors, which makes any violation of that right qualify as a

   concrete injury”).

           In light of the above, the Court finds that Counts 5 and 6 fail to allege a concrete

   injury in fact. Consequently, Counts 5 and 6 must be dismissed without prejudice for lack

   of standing. See Stalley, 524 F.3d at 1232 (“A dismissal for lack of subject matter

   jurisdiction is not a judgment on the merits and is entered without prejudice.”) (citing

   Crotwell v. Hockman–Lewis Ltd., 734 F.2d 767, 769 (11th Cir. 1984)).

   IV.     Conclusion

           Accordingly, it is ORDERED AND ADJUDGED that:

           1.     Defendants’ Motion to Dismiss Complaint (D.E. 8) is GRANTED;

           2.     Counts 5 and 6 of the Complaint are DISMISSED WITHOUT

                  PREJUDICE for lack of standing;

           3.     All pending motions are DENIED AS MOOT; and

           4.     This case is now CLOSED.

           DONE AND ORDERED in Chambers at Miami, Florida this 3rd day of February,

   2023.


                                              ____________________________________
                                              JOAN A. LENARD
                                              UNITED STATES DISTRICT JUDGE




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